Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 1 of 10



                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

                                           CASE NO. 1:20-cv-22133-JEM

  RYAN MAUNES MAGLANA, on
  his own behalf and as a class
  representative of all other similarly
  situated Filipino crewmembers
  trapped aboard CELEBRITY cruise
  vessels,

             Plaintiffs,
  v.

  CELEBRITY CRUISES INC.,

              Defendant.
  ___________________________________________/

                       DEFENDANT’S MOTION COMPEL ARBITRATION AND
                              DISMISS PLAINTIFF’S COMPLAINT

             Defendant CELEBRITY CRUISES, INC. (“Celebrity”), petitions the Court to enter an
  Order directing Plaintiff, Ryan Maunes Maglana (“Plaintiff”), to proceed to arbitration in
  accordance with the terms of the Employment Agreement he signed with Celebrity, and
  dismissing Plaintiff’s Complaint (ECF No. 4-1).

                                                I. Preliminary Statement

        Plaintiff executed the Sign-On Employment Agreement and the Philippine Overseas
  Employment Administration Contract of Employment. Those contracts, which govern the
  parties’ relationship, are subject to the United Nations Convention on the Recognition and
  Enforcement of Foreign Arbitral Awards (“the Convention”) and require the resolution of all
  disputes by arbitration in the Philippines under Philippine law. Accordingly, the Court should
  enter an Order directing Plaintiff to proceed to arbitration, as he agreed to do when he signed his
  employment contract, and dismissing the Complaint. 1


  1
     Celebrity does not raise at this stage its other defenses, such as the class action waiver and
  Plaintiff’s failure to satisfy conditions precedent by attending a conciliation conference as required
  by the Employment Agreement and class action waiver.



                                    H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
       150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 2 of 10

                                                                                   CASE NO. 1:20-cv-22133-JEM

                                                   II. Statement of Facts

            1.        Plaintiff, a crewmember and citizen of the Philippines, filed an 8-count Class
  Action Complaint against Celebrity alleging systemic company-wide discriminatory treatment of
  Filipino employees.          Specifically, Plaintiff’s Complaint against Celebrity asserts claims for
  (1) Preliminary Mandatory Injunction Requiring Repatriation of Defendant’s Filipino
  Crewmembers; (2) Intentional Tort of False Imprisonment; (3) Employment Discrimination on
  the Basis of National Origin; (4) Jones Act Negligence; (5) Unseaworthiness; (6) Failure To
  Provide Maintenance and Cure; (7) Failure to Provide Prompt, Proper & Adequate Medical Care;
  and (8) Wages and Penalties Pursuant to 46 U.S.C. §10313.
            2.        Plaintiff’s claims are governed by the terms of his Employment Agreement with
  Celebrity which requires all disputes between Plaintiff and Celebrity to be resolved by binding
  arbitration in the Philippines and decided under Philippine law. See “Sign-on Employment
  Agreement” dated October 23, 2019; “Collective Bargaining Agreement” (“CBA”); 2 “Contract
  of Employment” dated October 18, 2019; and “POEA’s Standard Terms and Conditions
  Governing Filipino Seafarers,” attached as Exhibits “A” through “D” (collectively “Employment
  Agreement”). These records are maintained by Celebrity in the ordinary course of business. See
  Exhibit “E.” Each document will be addressed below individually.
            3.        Plaintiff executed a “Sign-On Employment Agreement” (“SOEA Contract”), for
  employment onboard the Celebrity Millennium as a Beverage Controller, that sets forth the basic
  terms and conditions of employment, including salary and hours.                           The SOEA requires all
  grievances to be resolved by arbitration in the Philippines:
            All grievances and any other dispute whatsoever, whether in contract, regulatory,
            statutory, common law, tort or otherwise relating to or in anyway connected with
            the Seafarers service for the Owners/Company under the present Agreement,
            including but not limited to claims for personal injury/disability or death, no matter
            how described, pleaded or styled, and whether asserted against the
            Owners/Company, Master, Employer, Ship Owner, vessel or vessel operator shall
            be referred to and resolved exclusively by mandatory arbitration pursuant to
            the United Nations Convention on the Recognition and Enforcement of
            Foreign Arbitral Awards (New York 1958), 21 U.S.T. 2517, 330 U.N.T.S., (“The
            Convention”), except as provided by any government mandated contract.
  2
   Collective Agreement Between Celebrity Cruises Inc. and Federazione Italiana Trasporti-CISL-
  ITF International Dept.-Italy on Behalf of Itself and Associated Marine Officers’ and Seamen’s
  Union of the Philippines, effective July 1, 2017.


                                                            -2-
                                   H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
      150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 3 of 10

                                                                                 CASE NO. 1:20-cv-22133-JEM

          ...
          Jurisdiction and venue over disputes between Filipino Seafears and the
          Owners/Company shall be governed by the terms of the standard Philippines
          Overseas Employment Administration Contract of Employment (“POEA”
          Contract”) and the POEA Contract jurisdictional and venue terms shall supersede
          and take precedence over any conflicting terms set forth in this agreement.
          (emphasis added).

  See Exhibit “A” at ARBITRATION PROCEDURE, ¶¶ 1 and 4.
          4.        The SOEA Contract further delegates to the arbitrator broad authority to resolve
  disputes:
          The arbitrator, not any federal, state or local court or agency shall have the
          exclusive authority to resolve any dispute relating to the interpretation,
          applicability, enforceability or formation of this Agreement including, but not
          limited to any claim that all or any part of this agreement is void or voidable and as
          to choice of law.

  See Exhibit “A” at ARBITRATION PROCEDURE, ¶ 14.
          5.        The SOEA incorporates the CBA. The CBA contains language identical to the
  arbitration provision in the SOEA requiring arbitration of all disputes whatsoever. See Exhibit
  “B” at Art. 33(1), (4).
          6.        Plaintiff also signed a contract with the Philippine Overseas Employment
  Administration (“POEA Contract”) for employment that sets forth the basic terms and conditions
  of employment and incorporates by reference the Governing Board Resolution No. 9 and the
  Memorandum Circular No. 10, both series 2010. Exhibit “C.”
          7.        The POEA Contract specifically incorporates the POEA’s Standard Terms and
  Conditions Governing the Employment of Filipino Seafarers On Board Ocean-Going Vessels
  (“POEA’s        Standard Terms and Conditions”). See Exhibit “C” at ¶ 2.                              The POEA’s
  Memorandum Circular No. 10 requires the incorporation of and sets the minimum requirements
  for the POEA’s Standard Terms and Conditions. See Exhibit “D.”
          8.        The Standard Terms and Conditions require that the parties submit their claims
  and disputes to arbitration. See Exhibit “D” at § 29. The Standard Terms and Conditions also
  state that any dispute, claim or grievance shall be governed by the laws of the Republic of the
  Philippines, international conventions, treaties and covenants where the Philippines is a
  signatory. Id. at § 31. Such provisions are ordinarily enforced. Asignacion v. Rickmers Genoa


                                                          -3-
                                 H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
    150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 4 of 10

                                                                                 CASE NO. 1:20-cv-22133-JEM

  Schiffahrtsgesellschaft mbH & Cie KG, 783 F.3d 1010, 1015 (5th Cir.2015) cert. denied, –––
  U.S. ––––, 136 S.Ct. 795, 193 L.Ed.2d 764 (2016)(“Applying Philippine law to a Filipino
  seaman in a Philippine arbitration, by itself, is not cause for setting aside the award even if
  American choice of law principles would lead to the application of another nations law.”)
          9.        Plaintiff filed the instant class action suit notwithstanding his binding written
  agreement to arbitrate the dispute in the Philippines under Philippine law.

                                          MEMORANDUM OF LAW

          Plaintiff’s claims arise out of his employment with Celebrity and are subject to the terms
  of the Employment Agreement which mandate arbitration in the Philippines under Philippine
  law. By failing to submit his claims to arbitration as required by the Employment Agreement,
  Plaintiff is acting in direct contravention to the terms of the contracts he signed and the directives
  of his own country which has established the POEA to supervise, regulate, promote, and monitor
  overseas employment programs for the purpose of ensuring the best terms and conditions of
  employment for Filipino contract workers. Plaintiff is also acting in direct contravention to the
  terms of his contract with Celebrity. The Court should order Plaintiff to submit to arbitration in
  the Philippines under Philippine law pursuant to the terms of his Employment Agreement.
          A.        Federal Law Favors Arbitration
          Federal law strongly favors agreements to arbitrate, particularly in international
  commercial transactions. See Scherk v. Alberto-Culver Co., 417 U.S. 506 (1974). In Mitsubishi
  Motor Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614 (1985), the Supreme Court held:

          Concerns of international comity, respect for the capacities of foreign and
          transnational tribunals, and sensitivity to the need of the international commercial
          system for predictability in the resolution of disputes require that we enforce the
          parties’ agreement, even assuming that a contrary result would be forthcoming in
          a domestic context.

  Id. at 629. In Lindo v. NCL (Bahamas), Ltd., 652 F.3d 1257, 1275 (11th Cir. 2011), the Eleventh
  Circuit held that there is ample precedent “in favor of freely-negotiated contractual choice of law
  and forum selection provisions, and this presumption applies with special force in the field of
  international commerce.” “Questions of arbitrability must be addressed with a healthy regard for
  the federal policy favoring arbitration … and doubts concerning the scope of arbitrable issues
  should be resolved in favor of arbitration.” Adolfo v. Carnival Corp., Case No. 02-23672, 2003
  U.S. Dist. LEXIS 24143 (S.D. Fla. Mar. 17, 2003) (relying upon Mitsubishi Motors Corp. 473

                                                          -4-
                                 H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
    150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 5 of 10

                                                                                 CASE NO. 1:20-cv-22133-JEM

  U.S. at 626). See also Bautista v. Star Cruises, 396 F.3d 1289, 1295 (11th Cir. 2005)(The
  Convention Act “generally establishes a strong presumption in favor of arbitration of
  international commercial disputes.”)
          B.         The Convention Act
          International arbitration agreements are subject to the Convention which provides that a
  court possessing jurisdiction under the Convention must direct that arbitration be held in
  accordance with the agreement at any place therein provided for, whether that place is within or
  outside the United States. 9 U.S.C. § 206. The SOEA, CBA, POEA Contract and the POEA
  Terms and Conditions also expressly state that the arbitration is to be held pursuant to the
  Convention.
          In light of the strong policy favoring arbitration, courts conduct “a very limited inquiry”
  in deciding whether to compel arbitration pursuant to the Convention. Escobar v. Celebration
  Cruise Operator, Inc., 805 F.3d 1279, 1285 (11th Cir. 2015) citing Bautista v. Star Cruises, 396
  F.3d 1289 (11th Cir. 2005); Francisco v. Stolt Achievement MT, 293 F.3d 270, 272 (5th Cir.
  2002); Ledee v. Ceramiche Ragno, 684 F.2d 184 (1st Cir. 1982). Quite simply, “the Act leaves
  no place for the exercise of discretion by a district court, but instead mandates that district courts
  shall direct the parties to proceed to arbitration on the issues as to which an arbitration agreement
  has been signed.” Sedco v. Petroleos Mexicanos Mexican National Oil Co., 767 F.2d 1140, 1147
  (5th Cir. 1985).
          The Court must order arbitration if the following four conditions are met: (1) there is an
  agreement in writing to arbitrate the dispute, (2) the agreement provides for arbitration in the
  territory of a Convention signatory, (3) the agreement arises out of a commercial legal
  relationship, and (4) a party to the agreement is not an American citizen. See Lindo, 652 F.3d
  1276 (citing Bautista, 396 F.3d at 1294-95). See also Francisco, 293 F.3d at 273; Polychronakis
  v. Celebrity Cruises, Inc., 2008 WL 5191104 (S.D. Fla. 2008); Doe v. Royal Caribbean Cruises,
  365 F. Supp. 2d 1259 (S.D. Fla. Mar. 18, 2005); aff’d, Doe v. Royal Caribbean Cruises, 180 Fed.
  Appx. 893 (11th Cir. May 18, 2006). Here, all four conditions are met; thus, arbitration must be
  compelled.




                                                          -5-
                                 H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
    150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 6 of 10

                                                                                   CASE NO. 1:20-cv-22133-JEM

                      1.       There is an Agreement in Writing to Arbitrate

            The Employment Agreement governs the relationship of the parties and requires
  arbitration of all disputes. Specifically, the SOEA executed by Plaintiff and Celebrity and the
  CBA incorporated into the SOEA mandate arbitration of all disputes whatsoever:
            All grievances and any other dispute whatsoever, whether in contract, regulatory,
            statutory, common law, tort or otherwise relating to or in anyway connected with
            the Seafarers service for the Owners/Company under the present Agreement,
            including but not limited to claims for personal injury/disability or death, no matter
            how described, pleated or styled, and whether asserted against the
            Owners/Company, Master, Employer, Ship Owner, vessel or vessel operator shall
            be referred to and resolved exclusively by mandatory arbitration pursuant to
            the United Nations Convention on the Recognition and Enforcement of
            Foreign Arbitral Awards (New York 1958), 21 U.S.T. 2517, 330 U.N.T.S., (“The
            Convention”), except as provided by any government mandated contract.
            ...
            Jurisdiction and venue over disputes between Filipino Seafears and the
            Owners/ Company shall be governed by the terms of the standard Philippines
            Overseas Employment Administration Contract of Employment (“POEA”
            Contract”) and the POEA Contract jurisdictional and venue terms shall supersede
            and take precedence over any conflicting terms set forth in this agreement.
            (emphasis added).

  See Exhibit “A” at ARBITRATION PROCEDURE, ¶¶ 1 and 4, and Exhibit “B” at Art. 33(1), (4).
            Plaintiff also signed the POEA Contract, which was verified and approved by a POEA
  officer the same day. See Exhibit “C.” Paragraph 2 of Plaintiff’s POEA Contract states that the
  terms and conditions of the contract are to be observed in accordance with Governing Board
  Resolution No. 9 and Memorandum Circular No. 10, promulgated by the Department of Labor
  and the POEA in 2010. 3 Governing Board Resolution No. 9 and Memorandum Circular No. 10,
  in turn, incorporate the Standard Terms and Conditions Governing The Overseas Employment of
  Filipino Seafarers On-Board Ocean-Going Ships. See Exhibit “D.” In relevant part, Section 29 of
  the Standard Terms and Conditions, reads as follows:
            In cases of claims and disputes arising from this employment, the parties covered
            by a collective bargaining agreement shall submit the claim or dispute to the
  3
    The POEA supervises, regulates, promotes, and monitors overseas employment programs for
  the purpose of ensuring the best terms and conditions of employment for Filipino contract
  workers. Bautista v. Star Cruises, 286 F. Supp. 2d 1352, 1356 (S.D. Fla. 2003). To further this
  purpose, the POEA periodically issues memorandum circulars setting minimum requirements or
  standards of compensation and other benefits for overseas Filipino workers, especially seafarers,
  to keep them on par with prevailing international standards. Id.
                                                            -6-
                                   H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
      150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 7 of 10

                                                                                 CASE NO. 1:20-cv-22133-JEM

          original and exclusive jurisdiction of the voluntary arbitrator or panel of arbitrators.
          If the parties are not covered by a collective bargaining agreement, the parties may
          at their option submit the claim or dispute to either the original and exclusive
          jurisdiction of the National Labor Relations Commission (NLRC), pursuant to
          Republic Act of 1995 or to the original and exclusive jurisdiction of the voluntary
          arbitrator or panel or arbitrators. If there is no provision as to the voluntary
          arbitrators to be appointed by the parties, the same shall be appointed from the
          accredited voluntary arbitrators of the National Conciliation and Mediation Board
          of the Department of Labor and Employment.

  (See Exhibit “D” at § 29). Thus, the POEA mandates the arbitration of Filipino seamen’s claims.
          The foregoing shows that Plaintiff signed two contracts that include an arbitration
  provision; therefore, the first condition is satisfied.

                    2.         The Agreement Provides for Arbitration in the Territory of a
                               Convention Signatory

          The Philippines is a full signatory to the United Nations Convention on the Recognition
  and Enforcement of Foreign Arbitral Awards through its ratification of The Convention.
  Therefore,             the            second             condition              is           satisfied.            See
  http://www.newyorkconvention.org/list+of+contracting+states

                    3.         The Agreement           Arises     Out     of    a      Commercial       Legal
                               Relationship

          The third condition is satisfied because the agreement to arbitrate arises from a
  commercial legal relationship. Federal courts have consistently found that employment contracts
  similar to Plaintiff’s constitute a commercial legal relationship for the purposes of compelling
  arbitration. See Francisco, 293 F.3d at 273. Courts in this District have found that crew member
  employment contract containing an arbitration provision satisfied the commercial legal
  relationship requirement for purposes of compelling arbitration. See Amon v. Norwegian Cruise
  Lines, Ltd., Case No. 02-21025-CIV-HUCK, 2002 WL 32851545, at *4 (S.D. Fla. Sep. 25, 2002)
  (order granting motion to compel arbitration). See also Bautista v. Star Cruises and Norwegian
  Cruise Line, Ltd., 286 F. Supp. 2d at 1365, aff’d, Bautista v. Star Cruises, 396 F.3d 1289 (11th
  Cir. 2005) (affirming order granting motion to compel arbitration).                        Each of these courts
  concluded that the contract of employment and agreement to arbitrate therein arose out of a
  commercial legal relationship. Further, language of the SOEA and POEA Contracts clearly



                                                          -7-
                                  H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
    150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 8 of 10

                                                                                 CASE NO. 1:20-cv-22133-JEM

  express their commercial nature.             (See Exhibit “B”).         Accordingly, Plaintiff’s employment
  agreements with Celebrity satisfy the third condition.

                    4.       At Least One Party to the Agreement Is Not An American
                             Citizen

          Finally, the fourth condition is satisfied because Plaintiff is a citizen of the Philippines
  (Compl., ¶2). Moreover, Plaintiff was employed aboard a ship flagged under the laws of Malta.

          C.        The District Courts Have Enforced POEA Contracts Such As The
                    Employment Agreement Plaintiff Signed.

          The Southern District of Florida has enforced POEA contracts incorporating the Standard
  Terms and Conditions requiring arbitration for the resolution of disputes. See Navarette v.
  Silversea Cruises Ltd., No. 14-CV-20593, 2014 U.S. Dist. LEXIS 183318 (S.D. Fla. 2014) aff’d
  Navarette v. Silversea Cruises Ltd., 620 F. App'x 793, 794-95 (11th Cir. Aug. 5, 2015). In
  Navarette, the court held that the POEA contract similar to the one here which incorporated the
  same Standard Terms and Conditions satisfied the “written agreement” requirement of The
  Convention. Id. at *6-7. In Pagaduan, the court held that the seaman’s contract of employment
  incorporated by reference the POEA’s Standard Terms and Conditions and its arbitration
  provision as a matter of law, foreclosing any material factual dispute. Pagaduan v. Carnival
  Corp., No. 16-465, 709 Fed. Appx. 713, 715-16 (E.D.N.Y. Sept. 18, 2017). Pagaduan signed a
  contract that clearly and unambiguously described the incorporated industry-wide standard
  documents whose terms applied to the seafarer’s employment.                          Id. at 716-17.        Thus, the
  arbitration provision in the Standard Terms and Conditions was enforced. Id. at 718.
          Celebrity submits that upon the entry on an order directing the parties to arbitration this
  cause should be dismissed because there is no need for the Court to retain jurisdiction. Caley v.
  Gulfstream Aerospace Corp., 333 F. Supp. 2d 1367, 1379 (N.D.Ga. 2004), aff’d, 428 F.3d 1359
  (11th Cir. 2005). There is ample authority requiring the dismissal of the plaintiff’s complaint
  when all of the issues raised in the district court are subject to mandatory arbitration. Id.
                                                   CONCLUSION
          For the reasons set forth herein, Defendant CELEBRITY CRUISES INC. respectfully
  moves this Court to enter an Order directing the parties to proceed to arbitration in the
  Philippines pursuant to the terms of his Contract of Employment, and dismissing this action.



                                                          -8-
                                 H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
    150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 9 of 10

                                                                                 CASE NO. 1:20-cv-22133-JEM


                                                        Respectfully submitted,

                                                        /s/ Jerry D. Hamilton
                                                        Jerry D. Hamilton
                                                        Florida Bar No. 970700
                                                        jhamilton@hamiltonmillerlaw.com
                                                        Evan Gutwein
                                                        Florida Bar No. 58741
                                                        egutwein@hamiltonmillerlaw.com
                                                        Annalisa Gutierrez
                                                        Florida Bar No. 97940
                                                        agutierrez@hamiltonmillerlaw.com
                                                        Gilda M. Chavez
                                                        Florida Bar No. 973173
                                                        gchavez@hamiltonmillerlaw.com
                                                        HAMILTON, MILLER & BIRTHISEL, LLP
                                                        150 Southeast Second Avenue, Suite 1200
                                                        Miami, Florida 33131-2332
                                                        Telephone:     (305) 379-3686
                                                        Facsimile:     (305) 379-3690
                                                        Attorneys for Defendant

                                                         Sanford L. Bohrer
                                                         Florida Bar No. 160643
                                                         sbohrer@hklaw.com
                                                         Alex M. Gonzalez
                                                         Florida Bar No. 0991200
                                                         alex.gonzalez@hklaw.com
                                                         Scott D. Ponce
                                                         Florida Bar No. 0169528
                                                         sponce@hklaw.com
                                                         HOLLAND & KNIGHT LLP
                                                         701 Brickell Avenue, Suite 3300
                                                         Miami, Florida 33131
                                                         Telephone: 305- 374-8500
                                                         Facsimile: 305- 789-7799
                                                         Attorneys for Defendant




                                                          -9-
                                 H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
    150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
Case 1:20-cv-22133-JEM Document 13 Entered on FLSD Docket 06/08/2020 Page 10 of 10

                                                                                  CASE NO. 1:20-cv-22133-JEM

                                          CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on June 8, 2020, I electronically filed the foregoing document
   with the Clerk of the court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or
   in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.
                                                           /s/ Jerry D. Hamilton
                                                             Jerry D. Hamilton

                                                   SERVICE LIST

       Raul G. Delgado, II                                     Jerry D. Hamilton
       Florida Bar No. 094004                                  Florida Bar No. 970700
       raul@cruiselawyermiami.com                              jhamilton@hamiltonmillerlaw.com
       Raulsr@cruiselawyermiami.com                            Evan Gutwein
                                                               Florida Bar No. 58741
       heidi@cruiselawyermiami.com                             egutwein@hamiltonmillerlaw.com
       filing@cruiselawyermiami.com                            Annalisa Gutierrez
       Delgado Trial Attorneys                                 Florida Bar No. 97940
       10661 N. Kendall Drive, Suite 210                       agutierrez@hamiltonmillerlaw.com
       Miami, Florida 33176                                    Gilda M. Chavez
       Telephone No.: (305) 596-7911                           Florida Bar No. 973173
       Cell: (305) 972-0817                                    gchavez@hamiltonmillerlaw.com
       Facsimile: (305) 397-2654                               Hamilton, Miller & Birthisel, LLP
       Toll Free: 1 (877) 372-0817                             150 Southeast Second Avenue
       Attorneys for Plaintiff                                 Suite 1200
                                                               Miami, Florida 33131
                                                               Telephone:     (305) 379-3686
                                                               Facsimile:     (305) 379-3690
                                                               Attorneys for Defendant

                                                               Sanford L. Bohrer
                                                               Florida Bar No. 160643
                                                               sbohrer@hklaw.com
                                                               Alex M. Gonzalez
                                                               Florida Bar No. 0991200
                                                               alex.gonzalez@hklaw.com
                                                               Scott D. Ponce
                                                               Florida Bar No. 0169528
                                                               sponce@hklaw.com
                                                               HOLLAND & KNIGHT LLP
                                                               701 Brickell Avenue, Suite 3300
                                                               Miami, Florida 33131
                                                               Telephone: 305- 374-8500
                                                               Facsimile: 305- 789-7799
                                                               Attorneys for Defendant


                                                           - 10 -
                                  H AM I LT ON, MI L L E R & B I RT HI SE L, LLP
     150 Southeast Second Avenue, Suite 1200, · Miami, Florida 33131 · Telephone: 305-379-3686 · Facsimile: 305-379-3690
